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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

      UNITES STATES OF AMERICA
                                                        CRIMINAL ACTION NO. 16-CR-285-2
      v.

      LUIS JAVIER VILELLA                               CIVIL ACTION NO. 20-CV-3046



     Baylson, J.                           MEMORANDUM                             October 15, 2020

I.         Introduction

           Defendant Luis Vilella has filed a Petition for relief under 28 U.S.C. § 2255, following his

guilty plea on Count 2 of the above-captioned indictment. Mr. Vilella argues that his sentence

must be overturned on the basis of the Supreme Court’s decision in Rehaif v. United States, 139

S. Ct. 2191 (2019), because it was based on facts not admitted or proved during the guilt phase of

the proceeding. This Court disagrees and denies relief.

II.        Factual Background

           Mr. Vilella was charged with possession of a firearm by a convicted felon. (Government’s

Resp. 1, ECF 94); see 18 U.S.C. § 922(g)(1). He entered a guilty plea and reached an agreement

with the United States that 60 months of imprisonment was an appropriate sentence.

(Government’s Resp. 1). This Court imposed that sentence on June 26, 2017. (Id. at 2). In the

agreement that led to Mr. Vilella’s guilty plea in this case, Defendant and the United States

explicitly established that “if the Court imposes the recommended sentence [Defendant]

voluntarily and expressly waives all rights to collaterally attack the defendant’s conviction,

sentence, or any other matter relating to this prosecution. However, the defendant retains the right

to file a claim . . . that an attorney who represented the defendant during the course of this criminal

case provided constitutionally ineffective assistance.” (Guilty Plea Agreement ¶ 11, ECF 54).



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       After Mr. Vilella’s conviction, the Supreme Court held in Rehaif that convictions under

§ 922(g)(1) require the United States to prove that defendants were aware of the status that made

their possession of a firearm illegal. Rehaif, 139 S. Ct. at 2200. Mr. Vilella’s § 2255 Motion

argues that during the guilt phase of his case, the government did not prove he knew the status—

being a felon—that made his possession of a gun illegal. (Mot. 4, ECF 92). When Mr. Vilella

possessed the firearm leading to his charge, he had five prior felony convictions, had been

sentenced to a maximum of one year in prison for each conviction, and had served more than a

year in prison. (Government’s Resp. 5).

       Mr. Vilella’s expected release date is December 1, 2020. (Id. at 2). He filed the instant

§ 2255 motion on June 8, 2020.

III.   Discussion

       Section 2255 allows relief when: (1) “the sentence was imposed in violation of the

Constitution or laws of the United States;” (2) “the court was without jurisdiction to impose such

sentence;” (3) “the sentence was in excess of the maximum authorized by law;” or (4) “the sentence

‘is otherwise subject to collateral attack.’” Bledsoe v. United States, No. 2:07-cr-00165, 2020 WL

3638116, *7 (E.D. Pa. July 6, 2020) (Leeson, J.) (quoting Hill v. United States, 368 U.S. 424, 426–

27 (1962) (citing 28 U.S.C. § 2255(a))). Mr. Vilella’s Petition takes the first path: that his sentence

was imposed in violation of the Constitution or the laws of the United States. (Mot. 4).

       Claims rooted in a right recognized by the Supreme Court must be brought within one year

of the announcement of that right. (Government’s Resp. 3); see § 2255(f)(3). The Supreme Court

must also make that right “retroactively applicable to cases on collateral review.” § 2255(f)(3).

Courts in this district have reiterated this principle as recently as this summer when deciding

similar § 2255 petitions seeking relief under Rehaif. See United States v. Saunders, No. 10-442,




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2020 WL 5569785, at *3 (E.D. Pa. Sept. 17, 2020) (Bartle, J.) (explaining that “for . . . defendant[s]

to benefit from this delayed running of the limitations period, the new right must be retroactively

applied by the Supreme Court.”).

          District courts do not have to wait for the Supreme Court to make a decision retroactive in

two exceptional circumstances: when the § 2255 claim is based on (2) “new substantive rules”;

or (2) on “watershed rules of criminal procedure.” In re Hoffner, 870 F.3d 301, 304 (3d Cir. 2017)

(quoting Welch v. United States, 136 S. Ct. 1257, 1264 (2016)); see also Saunders, 2020 WL

5569785, at *3; United States v. Battle, No. 16-017, 2020 WL 4925678, at *4 (W.D. Pa. Aug. 21,

2020).

          In Sampson, the Third Circuit held that second or successive § 2255 motions were not

available under Rehaif, because Rehaif did not meet § 2255(h)’s requirement of stating “a new

rule of constitutional law.” See In re Sampson, 954 F.3d 159, 160–61 (3d Cir. 2020). The

Sampson court elaborated that even if Rehaif had announced such a rule, the Supreme Court would

have to make it retroactively applicable to meet the requirements of § 2255(h). 1 Id. at 160 n.3.

While the court was ruling on a successive § 2255 motion, the logic of the decision still suggests

the Third Circuit would determine that an initial § 2255 claim under Rehaif could not overcome

the retroactivity bar via the “substantive rule” exception. No other court of appeals has answered

the question of whether Rehaif’s holding is “substantive” such that it may be applied retroactively

in a non-successive § 2255 motion. The Third Circuit remanded a case on the question to the

Western District of Pennsylvania this summer. See Battle, 2020 WL 4925678, at *2. On remand,

the district court decided that Rehaif did not apply retroactively to non-successive § 2255 claims:

                 In Rehaif, the Supreme Court clarified what the Government must
                 prove in order to convict an individual in one of the nine prohibited


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    Mr. Vilella’s Petition acknowledges this principle. (Mot. 11).


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                 categories enumerated in Section 922(g). As such, the new rule
                 announced in Rehaif is a procedural rule, and not a substantive rule.
                 Further, it is not a “watershed” rule of criminal procedure, because
                 it does not implicate “the fundamental fairness and accuracy of the
                 criminal proceeding.”

Id. at *4 (quoting Whorton v. Bockting, 549 U.S. 406, 416 (2007)); see also United States v.

McArthur, No. 16-53, 2020 WL 3064293, at *2 (W.D. Pa. June 9, 2020) (interpreting Sampson to

mean that Rehaif did not create a new rule of constitutional law and therefore could not be

retroactively applied to non-successive § 2255 motions).

       In any event, the retroactivity analysis is mostly academic, because Mr. Vilella’s claim is

procedurally barred.

IV.    Mr. Vilella’s Claim is Procedurally Barred

       The United States’ primary argument in its Response to Mr. Vilella’s Petition is on

procedural grounds. (Government’s Resp. 3–4). “Because collateral review under § 2255 is not

a substitute for direct review, a movant ordinarily may only raise claims in a 2255 motion that he

raised on direct review.” United States v. Correa, No. 08-459, 2020 WL 5517466, *1 (E.D. Pa.

Sept. 14, 2020) (Kenney, J.) (quoting Hodge v. United States, 554 F.3d 372, 378–79 (3d Cir.

2009)); see also United States v. Jenkins, 333 F.3d 151, 154–55 (3d Cir. 2003) (affirming denial

of a § 2255 motion under Apprendi when defendant did not raise Apprendi claim before conviction

became final).

       When defendants do not raise an issue in the trial court, nor on appeal of their convictions,

they have not raised any claims on direct review. Saunders, 2020 WL 5569785, at *4 (citing

Bousley v. United States, 523 U.S. 614, 622 (1998); Correa, 2020 WL 5517466, at *3; Battle, 2020

WL 4925678, at *5. Mr. Vilella pled guilty and has not appealed his conviction. (J. as to Luis

Javier Vilella 1, ECF 73). He and the Government agreed to a sentence of 60 months of




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imprisonment followed by a period of supervised release set by the Court, and this Court imposed

a 60-month sentence, with 5 years of supervised release. (Tr. of Sentencing Hr’g 11, ECF 89).

His plea agreement explicitly stated that he would not challenge his conviction on appeal or

collateral review. 2   The presentence report lists Defendant’s prior felony convictions,

(Government’s Sentencing Mem. 4, ECF 69; Government’s Resp. 5), and Defendant’s own

sentencing memorandum acknowledges that he “has a somewhat significant criminal history

consisting of convictions for drug offenses.” (Def.’s Sentencing Mem. 4, ECF 68). Given these

facts, this Court finds that Mr. Vilella has never raised knowledge of his felon status as an issue

until the instant § 2255 motion.

       Nevertheless, defendants can still overcome procedural default if they show (A) cause for

the procedural default and actual prejudice, or (B) that they are actually innocent. (Government’s

Resp. 3–4); Correa, 2020 WL 5517466, at *3 (citing Bousley, 523 U.S. at 621); see also Jenkins,

333 F.3d at 155. Mr. Vilella can show neither.

               A. Cause and Prejudice

       Cause may exist “where a constitutional claim is so novel that its legal basis is not

reasonably available to counsel.” Correa, 2020 WL 5517466, at *3 (quoting Reed v. Ross, 468

U.S. 1, 16 (1984); Saunders, 2020 WL 5569785, at *4; see also Jenkins, 333 F.3d at 155;

(Government’s Resp. 3). In this circuit, arguments under Rehaif are not sufficiently novel in the

§ 2255 context, as “[t]he issue. . . was percolating in the courts for years.” Correa, 2020 WL

5517466, at *3 (quoting United States v. Murphy, No. 1:13-CR-060, 2020 WL 1891791, at *2)

(M.D. Pa. Apr. 16, 2020); see also Battle, 2020 WL 4925678, at *6 (finding no cause when “the




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 Courts do not read these provisions as absolute bars to § 2255 motions. See United States v.
Peppers, 899 F.3d 211, 225–26 (3d Cir. 2018).


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issue had been litigated in federal courts across jurisdictions for many years prior to Scott’s

conviction”); see also Jenkins, 333 F.3d at 155 (noting that “the foundation for Apprendi was laid

years before the decision was announced” in denying at § 2255 claim under that case);

(Government’s Resp. 3). Likewise, any ineffective assistance of counsel argument raised by

Defendant 3 does not furnish cause, because attorneys are not required to make meritless objections

under prior precedent, nor predict changes in the law. See United States v. Doe, 810 F.3d 132,

154 (3d Cir. 2015); Smith v. Murray, 477 U.S. 527, 536 (1986); (Government’s Resp. 3).

       Because Mr. Vilella cannot show cause, he cannot overcome a procedural default, so there

is no need to decide whether he can show prejudice. Still, it is worth briefly addressing to

emphasize that Defendant’s argument would also fail on this element. Prejudice occurs when the

failure to lay out an element of a crime undermines confidence in a conviction. See Murphy, 2020

WL 1891791, at *2. When defendants have been convicted of, and have served time for felonies,

“[t]here can be no doubt that [they know] of [their] conviction[s] of a crime punishable by a term

of imprisonment exceeding one year.” Saunders, 2020 WL 5569785, at *4; see also Murphy, 2020

WL 1891791, at *2 (“These convictions—and the fact Murphy spen[t] multiple years in prison on

each of them—can leave little doubt that Murphy had full knowledge that he had been convicted

of crimes punishable by more than a year in prison. As such, the failure to explicitly lay that

element out in the Felony Information could not have prejudiced him in any way.”);

(Government’s Resp. 6–7). Under these principles, it is clear Mr. Vilella could not show prejudice,

as he already had five previous felony convictions, and had served more than a year in prison at

the time he possessed the firearm in this case. (Government’s Resp. 5).




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 Defendant’s § 2255 motion does not appear to make this argument, but the United States
addresses it in its Response. (Government’s Resp. 3).


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               B. Actual Innocence

       Because Mr. Vilella cannot overcome procedural default, the last path to relief is the “actual

innocence” doctrine. Correa, 2020 WL 5517466, at *3 (citing Bousley, 523 U.S. at 621); see also

Jenkins, 333 F.3d at 155; (Government’s Resp. 4). “To establish actual innocence, [a defendant]

must demonstrate that, in light of all the evidence, it is more likely than not that no reasonable

juror would have convicted him.” Correa, 2020 WL 5517466, at *3 (quoting Bousley, 523 U.S.

at 623). When defendants have pled guilty to and were convicted of felonies, like Mr. Vilella,

district courts widely find “that a reasonable juror would have concluded, beyond a reasonable

doubt, that [a defendant] was aware of his status as a felon when he possessed the firearm at issue.”

Correa, 2020 WL 5517466, at *3; Murphy, 2020 WL 1891791, at *3; (Government’s Resp. 6–7).

       For these reasons, the Court will dismiss the § 2255 Petition.



                                                      BY THIS COURT:


                                                      /s/ Michael M. Baylson
                                                      ______________________________
                                                      MICHAEL M. BAYLSON
                                                      United States District Court Judge




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